                                                  Case 2:18-cv-02620-JAT Document 20 Filed 08/24/18 Page 1 of 5



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                                        7
                                                                     UNITED STATES DISTRICT COURT
                                        8
                                                                            DISTRICT OF ARIZONA
                                        9
                                          League of Women Voters of Arizona; Mi No. 2:18-cv-02620-JAT
                                       10 Familia Vota Education Fund; and Promise
                                          Arizona, on behalf of themselves, their
                                       11 members, and all others similarly situated,
                                                                                         PLAINTIFFS’ RESPONSE TO DOC. 15
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                                       12                  Plaintiffs,                      REGARDING DEADLINE FOR
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   Phoenix, Arizona 85004-4406




                                                                                            PRELIMINARY INJUNCTION
                                       13                  vs.
          (602) 364-7000




                                       14 Michele Reagan, in her official capacity as
                                          Secretary of State for the State of Arizona,
                                       15
                                                            Defendant.
                                       16
                                       17
                                       18         In response to the Court’s Order of August 22, 2018 (Doc. 15), Plaintiffs submit this
                                       19 memorandum setting forth the basis for the requested September 15, 2018 date by which a
                                       20 preliminary injunction should issue.1      Plaintiffs seek a preliminary injunction against
                                       21 Defendant Michele Reagan, in her official capacity as Secretary of State for the State of
                                       22 Arizona (“SOS”), to remedy her violations of Section 5 of the National Voter Registration
                                       23 Act (“NVRA”), 52 U.S.C. § 20504—specifically, her failure to update voter registration
                                       24 addresses. One of the two forms of relief Plaintiffs’ preliminary injunction application seeks
                                       25 is a mailing to affected voters notifying them of the need to ensure that their voter
                                       26
                                                  1
                                                  During the call to the Court, Plaintiffs inadvertently referred to Saturday, September
                                       27 15, 2018 rather than Friday, September 14, 2018 as the deadline. September 14, 2018 is the
                                          operative date reflected in Plaintiffs’ papers.
                                       28
                                                    Case 2:18-cv-02620-JAT Document 20 Filed 08/24/18 Page 2 of 5



                                        1 registration addresses are up to date. Because the deadline for voters to update their voter
                                        2 registration     records    for   the   2018    General     Election   is   October    9,   2018
                                        3 (https://azsos.gov/elections/elections-calendar-upcoming-events), this mailing should be sent
                                        4 by the SOS sufficiently in advance of that October 9, 2018 voter registration deadline to
                                        5 maximize effect. Plaintiffs believe a preliminary injunction ordering this mailing is needed
                                        6 by September 14, 2018 to accomplish that purpose.
                                        7           As it relates to that mailing, Plaintiffs request that the Court order the SOS to send a
                                        8 blank voter registration form and a notice (together the “Remedial Mailing”) to all voters
                                        9 who have engaged in a Covered Transaction (e.g., initial application, renewal, and/or change
                                       10 of address) with the Arizona Department of Transportation (“ADOT”) or its Motor Vehicle
                                       11 Division (“MVD”) (collectively “ADOT/MVD”) since November 9, 2016—the day after the
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                                       12 last General Election. The Remedial Mailing would advise voters that their voter registration
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                                       13 record may be out of date, indicate that this error in the record may impact their ability to
          (602) 364-7000




                                       14 receive a ballot by mail and/or cast a ballot in the 2018 General Election which will be
                                       15 counted, and state steps voters can take to ensure that they are able to participate in the 2018
                                       16 General Election.2 This remedy can be most effective if the information contained in the
                                       17 Remedial Mailing reaches voters prior to the October 9, 2018 voter registration deadline.
                                       18 Based upon a separate settlement reached with ADOT/MVD, the Arizona Department of
                                       19 Economic Security, and the Arizona Heath Care Cost Containment System involving a
                                       20 similar mailing [Doc. 6-1 at 17-27], Plaintiffs in good faith reasonably believe that it may
                                       21 take the SOS some time to prepare, print, and send the requested Remedial Mailing.
                                       22 Accordingly, Plaintiffs believe a preliminary injunction ordering the Remedial Mailing is
                                       23 needed by September 14, 2018 to be most effective, which is why Plaintiffs asked for that
                                       24 relief.
                                       25
                                       26
                                       27           2
                                                   The Proposed Order and Order to Show Cause filed by Plaintiffs on August 18, 2018
                                          provide greater detail concerning the contents of the requested Remedial Mailing. [Docs. 5-
                                       28 2 at 2:20-3:16, 6-2 at 2:24-3:19]

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                                        1         Plaintiffs’ second requested form of relief does not implicate the September 14, 2018
                                        2 deadline, but nonetheless is time sensitive. Plaintiffs’ second form of relief requests that the
                                        3 SOS instruct county recorders to count provisional ballots cast in federal elections by voters
                                        4 who changed their address during a Covered Transaction with ADOT/MVD regardless of
                                        5 whether the provisional ballot is cast in the precinct corresponding to the address associated
                                        6 with the voter’s driver’s license or identification card or in the precinct associated with the
                                        7 voter’s registration record. Plaintiffs believe this remedy can be effective if ordered any time
                                        8 prior to Election Day—November 6, 2018—however, providing the SOS with time prior to
                                        9 Election Day to conduct relevant poll worker training and adequately inform voters of the
                                       10 option to vote at either polling location likely will increase its effectiveness.
                                       11         Based on the foregoing, Plaintiffs seek a preliminary injunction in the form specified
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                                       12 in their papers.
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                                       13         DATED this 24th day of August, 2018.
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                                                                            * Pro hac vice applications forthcoming.
                                       10                                   ** Not admitted in the District of Columbia;
                                                                            practice limited pursuant to D.C. App. R. 49(c)(3).
                                       11
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                                       1 Filed electronically with the Court and
                                         Served on parties of record by the Court’s
                                       2 CM/ECF system this 24th day of August,
                                         2018.
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                                       4     s/ Donna McGinnis
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